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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                     CASE NUMBER:


                                                                       2:16−cv−08684−SVW−AFM
    LUIS LORENZO VARGAS
                                                     Plaintiff(s),

             v.
    CITY OF LOS ANGELES, et al.
                                                   Defendant(s).
                                                                       NOTICE TO FILER OF DEFICIENCIES IN
                                                                       ELECTRONICALLY FILED DOCUMENTS




    PLEASE TAKE NOTICE:

    The following problem(s) have been found with your electronically filed document:

    Date Filed:         8/14/2019
    Document Number(s):                 274
    Title of Document(s):              EX PARTE APPLICATION to Shorten Time for Hearing
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    Dated: August 15, 2019                            By: /s/ Yvette Louis yvette_louis@cacd.uscourts.gov
                                                         Deputy Clerk

    cc: Assigned District Judge and/or Magistrate Judge

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